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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                 PADUCAH DIVISION
                                         5:21-cv-84-BJB
                               CASE NO. _____________

IN THE MATTER OF THE COMPLAINT OF
ERIC YAEGER, AS OWNER AND OPERATOR
OF THE 2017 SEA DOO RXT-X 300 PERSONAL
WATERCRAFT BEARING IDENTIFICATION
NO. YDV10433B717, FOR EXONERATION
FROM OR LIMITATION OF LIABILITY


       COMPLAINT FOR EXONERATION FROM OR LIMITATION OF LIABILITY
                          (Electronically Filed)


       COMES NOW the Limitation Plaintiff, Eric Yaeger (hereinafter “Mr. Yaeger” or

“Limitation Plaintiff”), as owner and operator of the 2017 Sea Doo RXT-X 300 Personal

Watercraft bearing Identification No. YDV10433B717 (hereinafter “2017 Sea Doo

Personal Watercraft”), and in support of his Complaint seeking exoneration from or

limitation of liability, pursuant to 46 U.S.C. § 30501, et seq., states as follows:

       1.      This action is brought pursuant to 46 U.S.C. § 30501, et seq., commonly

called the Limitation of Liability Act.

       2.      This is an admiralty and maritime claim within the meaning of Rule 9(h) of

the FEDERAL RULES     OF   CIVIL PROCEDURE and governed procedurally by Rule F of the

Supplemental Rules for Certain Admiralty and Maritime Claims, FEDERAL RULES OF CIVIL

PROCEDURE.

       3.      Jurisdiction exists in this action pursuant to admiralty and maritime

jurisdiction of the United States Courts, 28 U.S.C. § 1333, and the Limitation of Liability

Act, 46 U.S.C. § 30501, et seq.


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       4.     At all relevant times, Limitation Plaintiff Eric Yaeger was and is a citizen of

Evansville, Vanderburgh County, State of Indiana, and was and is the owner of the

2017 Sea Doo Personal Watercraft.

       5.     Prior to the incident that is the subject of this proceeding, and at all

relevant times, Mr. Yaeger exercised due diligence to place and maintain the 2017 Sea

Doo Personal Watercraft in a seaworthy condition, and the 2017 Sea Doo Personal

Watercraft was in fact tight, staunch, strong, fully and properly equipped, and seaworthy

in all respects, fit and proper for the service in which it was engaged while it was in

service.

       6.      On May 31, 2020, Mr. Yaeger was operating the 2017 Sea Doo Personal

Watercraft in Big Bear Bay on Kentucky Lake when the Sea Doo was struck by a tube

carrying Kyle Waldridge, which was being pulled by a vessel operated by James Adams

(the “Incident”).

       7.      Following the Incident, Mr. Waldridge was transported to Vanderbilt

Medical Center in Tennessee for treatment of injuries sustained in the Incident.

       8.      On May 26, 2021, Mr. Waldridge filed suit against Mr. Yaeger and Mr.

Adams in Marshall Circuit Court, Commonwealth of Kentucky, in the action styled Kyle

Waldridge v. Eric C. Yaeger and James Adams, Marshall Circuit Court, Commonwealth

of Kentucky, Civil Action No. 21-CI-00183.

       9.      The Incident and all losses and damages resulting from it, were not

caused by negligence on the part of Mr. Yaeger, or on the part of the 2017 Sea Doo

Personal Watercraft itself, or any persons for whom Mr. Yaeger was or is responsible,

nor were there any unseaworthy conditions aboard the 2017 Sea Doo Personal

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Watercraft which caused or contributed to the Incident. Accordingly, Mr. Yaeger and

the 2017 Sea Doo Personal Watercraft are each entitled to be exonerated from all

liability for the Incident.

       10.     Additionally, and/or alternatively, the Incident, and all losses and damages

occurring as a result of it, occurred without any privity or knowledge of Mr. Yaeger, and

for this reason Mr. Yaeger and the 2017 Sea Doo Personal Watercraft are entitled to

limit their liability to the post-accident value of the 2017 Sea Doo Personal Watercraft

pursuant to 46 U.S.C. § 30501, et seq.

       11.     Subject to a formal appraisal of Mr. Yaeger’s interest in the 2017 Sea Doo

Personal Watercraft, Mr. Yaeger offers an ad interim stipulation for the value of

the 2017 Sea Doo Personal Watercraft in the sum of $14,400.00 United States Dollars

and the value of the pending freight in the sum of $0.00 United States Dollars with

security, said sum being equal to the aggregate value of Mr. Yaeger’s interest in

the 2017 Sea Doo Personal Watercraft and its costs in the sum of $250.00 United

States Dollars.

       12.     This Complaint is filed within six (6) months after Mr. Yaeger’s receipt of

first written notice of a claim that reasonably could exceed the value of the 2017 Sea

Doo Personal Watercraft.

       13.     At the time this Complaint was filed, the 2017 Sea Doo Personal

Watercraft was within the jurisdictional boundaries of the United States District Court for

the Western District of Kentucky and within this Division.

       14.     Mr. Yaeger avers that there are no unsatisfied liens or claims of liens

arising on the above-reference voyage so far as is known.

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       WHEREFORE, Limitation Plaintiff, Eric Yaeger, prays:

       A.     That this Court enter an Order approving an ad interim stipulation this day

filed by Mr. Yaeger for the value of Mr. Yaeger’s interest in the 2017 Sea Doo Personal

Watercraft in the amount of $14,400.00 United States Dollars, the value of the 2017 Sea

Doo Personal Watercraft’s pending freight then earned in the amount of $0.00 United

States Dollars, and costs in the amount of $250.00 United States Dollars;

       B.     That this Court approve the Letter of Undertaking filed as security for the

value of the 2017 Sea Doo Personal Watercraft, the value of the pending freight, and

the court costs in the total amount of $14,650.00 United States Dollars plus interest at

the rate of six percent (6%) per annum from the date of this Complaint;

       C.     That this Court issue an order enjoining or restraining the commencement

or prosecution of any and all actions, suits or legal proceedings of whatsoever kind,

nature or character by any claimant against the Limitation Plaintiff, or against the 2017

Sea Doo Personal Watercraft itself, arising out of or attributable to the Incident;

       D.     That this Court admonish each and every claimant to appear and file his

or her claim with the Clerk of this Court on or before a date to be fixed by this Court or

be forever barred and permanently enjoined from making and filing such claims;

       E.     That this Court direct each and every claimant to answer the allegations

contained in this Complaint;

       F.     That this Court, after due hearing, determine that Limitation Plaintiff and/or

the 2017 Sea Doo Personal Watercraft are not liable for any damage on any basis

whatsoever in connection with the Incident; and



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       G.     That, in the alternative, should this Court determine that Limitation Plaintiff

and/or the 2017 Sea Doo Personal Watercraft are liable to any person, firm, corporation

or entity to any extent on any basis, which is denied, the Court then determine that

Limitation Plaintiff is entitled to limit his liability to the value of his interest in the 2017

Sea Doo Personal Watercraft and that a judgment be entered discharging Limitation

Plaintiff and the 2017 Sea Doo Personal Watercraft from any further liability arising

from, growing out of, or in connection with the Incident; and, for such other relief as the

proof may show appropriate.

       RESPECTFULLY SUBMITTED, this the 22nd day of June, 2021.

                                            MILLER HAHN, PLLC


                                            By: _/s/ Bobby R. Miller, Jr.______________
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